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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA



COUNCIL ON AMERICAN‐ISLAMIC                Court File No.: 20‐cv‐2195 (NEB‐BRT)
RELATIONS – MINNESOTA AND
LEAGUE OF WOMEN VOTERS OF
MINNESOTA,

              Plaintiffs,                   ORDER GRANTING CITY OF SAINT
                                           PAUL’S MOTION FOR LEAVE OF THE
v.                                         COURT TO FILE AN AMICUS CURIAE
                                            BRIEF IN SUPPORT OF PLAINTIFFS
ATLAS AEGIS, LLC, ANTHONY
CAUDLE, AND JOHN DOES #1‐10,

              Defendants.


      On October 22, 2020, the City of Saint Paul (“Saint Paul”) filed its Motion for

Leave of the Court to File an Amicus Brief in Support of Plaintiffs (ECF No. 23).

The Motion was presented without oral argument.

      Based upon the moving and responsive papers and all of the files and

records herein, including the arguments of counsel,

      IT IS HEREBY ORDERED THAT:

      1.     Saint Paul’s Motion for Leave of the Court to File an Amicus Brief in

Support of Plaintiffs is granted.

      2.     Saint Paul shall enjoy amicus curiae status herein, and the Court shall

accept the City of Saint Paul’s Proposed Memorandum of Law, with the
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Declaration and Exhibits filed therewith, as Saint Paul’s amicus submission in

support of Plaintiffs’ pending motion for temporary injunctive relief.




Dated: October 22, 2020                  s/Nancy E. Brasel
                                         NANCY E. BRASEL
                                         United States District Court Judge




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